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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                          )
MARTHA WRIGHT, et al.                     )
                                          )
                  Plaintiffs,             )
                                          )
        v.                                )         Case No. 1:00-cv-00293(GK)
                                          )
CORRECTIONS CORPORATION OF                )
AMERICA, et al.,                          )
                                          )
                  Defendants.             )
~~~~~~~~~~~~~~~~-
                                          )

                                          ORDER

        On February 16,         2000,   Plaintiffs filed this putative class

action       on behalf of       inmates   incarcerated at       prison   facilities

operated by Corrections Corporation of America ("CCA").                       In August

2001, this Court ruled that the Federal Communication Commission

was "in the best position to resolve the core issues in this case"

[Dkt.       No.    94 at 10-11], and on November 5, 2001, entered an Order

staying the case [Dkt. No.              105].

        On October 27, 2014, Plaintiffs filed a Motion to Reopen and

Lift Stay Temporarily, requesting "to lift the stay on a temporary

basis" to file an amended complaint [Dkt. No. 139 at 8]. On April

30, 2015, the Court granted the motion and ordered Plaintiffs to

file a motion for leave to amend by May 15,                    2015   [Dkt.    No.   177

at 1    &    6].    On January 21,      2016,       the Court granted Plaintiffs'

motion.to amend the Complaint and the First Amended Class Action

Complaint was filed the same day [Dkt. Nos. 189-91].

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...




           Presently before the Court is CCA's Motion for Clarification

      of the Stay     ("Motion")   [Dkt.   No.   192].   Given that the stay was

      only lifted temporarily for purposes of amending the Complaint,

      CCA seeks to clarify whether the stay automatically resumed upon

      the filing of the First Amended Complaint, and if it did not, seeks

      an extension of time to the First Amended Complaint. Motion at 2.

           Defendant Securus Technologies, Inc. has filed a response in

      support   of   CCA' s   Motion   ("Response")      [ Dkt.   No.   193] .    Securus

      indicates in the Response that Plaintiffs will stipulate that the

      stay of this case has not been lifted. Response at 2. Should the

      stay not be reinstated, Securus also seeks an extension of time to

      respond to the First Amended Complaint.

           Upon   full    consideration    of    all   the   pleadings,     the    entire

      record herein, and for the reasons set forth above, it is hereby

           ORDERED,      that this action is stayed effective January 21,

      2016; and it is further

           ORDERED,    that the parties shall file a joint status report

      with the Court no later than April 13, 2016.




      February 12, 2016




      Copies to: attorneys on record via ECF


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